Case 2:14-cv-05554-FMO-FFM Document 31 Filed 09/16/14 Page lof2 Page ID #:370

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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

Clarence Walder; et al.

CASE NUMBER
Case No. 2:14-CV-05554 FMO-FFM

 

Plaintiff(s),
Vv.
i NOTICE OF DISMISSAL PURSUANT
Gladstone Business Investment, LLC et al. ee
Defendant(s). PROCEDURE 41 (a) or (c)

 

 

PLEASE TAKE NOTICE: (Check one)

1 This action is dismissed by the Plaintiff(s) in its entirety.

1 The Counterclaim brought by Claimant(s)

is

 

dismissed by Claimant(s) in its entirety.

O The Cross-Claim brought by Claimants(s)

is

 

dismissed by the Claimant(s) in its entirety.

O The Third-party Claim brought by Claimant(s)

 

dismissed by the Claimant(s) in its entirety.

ONLY Defendant(s) George McCabe and Pine Creek Partners

 

is/are dismissed from (check one) wi Complaint, 0 Counterclaim, HO Cross-claim, 0 Third-Party Claim
brought by Plaintiffs Clarence Walder and Sheila Walder

The dismissal is made pursuant to F.R.Civ.P. 41(a) or (c).

9/16/14
Date

 

a

Signature of Attorney/Party

NOTE: F.R.Ciy.P. 41(a): This notice may be filed at any time before service by the adverse party of an answer or of a motion for

summary judgment, whichever first occurs.

*

F.R.Civ.P. 41(c): Counterclaims, cross-claims & third-party claims may be dismissed before service of a responsive

pleading or prior to the beginning of trial.

 

CV-09 (03/10)

NOTICE OF DISMISSAL PURSUANT TO FEDERAL RULES OF CIVIL PROCEDURE 41(a) or (c)
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CERTIFICATE OF SERVICE
UNITED STATES COURT, CENTRAL DISTRICT

I am employed in the County of Los Angeles, State of California. I am over the age of eighteen
(18) and not a party to the within entitled action. My place of business is 249 E. Ocean
Boulevard, Suite 814, Long Beach, CA 90802.

On September 16, 2014, I served the foregoing document described as:

-NOTICE OF DISMISSAL PURSUANT TO FEDERAL RULES OF
CIVIL PROCEDURE 41(a) or (c); DECLARATION OF SAM KIM

on the interested parties in this action by sending true and correct copies thereof to those
address(es) listed below:

 

 

 

 

 

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x VIA CM/ECF ELECTRONIC FILING SYSTEM: I transmitted via the Internet a true
copy(s) of the above-entitled document(s) to the CM/ECF system of the United States District
Court for the Central District of California and concurrently caused the above-entitled
document(s) to be sent to the recipients listed above pursuant to the Service List maintained by
and as it exists on that database. This will constitute service of the above-listed document(s).

xX FEDERAL: I declare under penalty of perjury under the laws of the United States of

America that the foregoing is true and correct.

Executed September 16, 2014, at Long Beach, California.
aS

Daniel Torres

 

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r 1

 

CERTIFICATE OF SERVICE

 

 
